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   12                           UNITED STATE DISTRICT COURT
   13                        CENTRAL DISTRICT OF CALIFORNIA
   14

   15   MARILYN SPERLING and JERRED                       Case No. 5:15-cv-01411-AB-KK
        SCHUH, individually and on behalf of
   16
        all others similarly situated,                    DECLARATION OF GLORI KATZ
   17                                                     IN SUPPORT OF DEFENDANT’S
                      PLAINTIFFS,                         MOTION FOR SUMMARY
   18
                                                          JUDGMENT
   19            v.
                                                          Judge: Hon. André Birotte, Jr.___
   20                                                     Date: Friday, February 16, 2018
        STEIN MART, INC.,                                 Time: 10:00 a.m._
   21                                                     Courtroom: 7B – First Street
                      DEFENDANT.
   22

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        85680497v1                                     1.                    Case No.: 5:15-cv-01411-AB-KK
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   1                                 DECLARATION OF GLORI KATZ
   2             I, Glori Katz, declare as follows:
   3                 1.   I am employed by Stein Mart, Inc. as Senior Vice President of
   4    Marketing and Advertising. I have been in this position for approximately nine
   5    and a half years.             In my position, I am responsible for the design and
   6    implementation of Stein Mart’s advertising strategy, including the creative content
   7    and direction of our advertising outreach.                   In my position, I have access
   8    information regarding the success of promotional events, and to data and consumer
   9    research relating to the demographics of Stein Mart’s customer base and its
   10   purchasing attributes. I also have access to its policies, including its Fair Pricing
   11   Policy, and to its sales and merchandise records. I am submitting this declaration
   12   in order to provide information regarding Stein Mart’s customer base, how Stein
   13   Mart advertises to this customer base, and the shopping attributes of our customers.
   14   If called upon as a witness, I could and would competently testify to the matters
   15   stated herein.
   16                2.   To the extent this declaration is based upon my review of Stein Mart’s
   17   business records, those records are kept in the regular course of business, entries
   18   are made on those records in a timely manner by people with knowledge of the
   19   information being entered, and it is the regular practice of Stein Mart’s business to
   20   maintain such records.
   21                3.   I have worked at Stein Mart since May, 2008, during which time I
   22   have been in charge of planning and implementing Stein Mart’s advertising,
   23   branding and marketing strategies. I have spent my entire career (now nearly 35
   24   years) in advertising, as I held advertising, sales promotion and marketing
   25   positions at a number of other retailers and advertising agencies before I joined
   26   Stein Mart. Over the course of my career, I have developed a deep knowledge as
   27   to how retailers promote their businesses. Retailers always strive to understand
   28   their customer base, so that they can present products and promotions that appeal

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   1    to their customers. Different retailers use different strategies specific to their
   2    merchandise and target customer base. High end retailers like Saks and Nordstrom
   3    focus on themes such as quality, luxury, and exclusivity, and appeal to affluent
   4    purchasers.        Bargain retailers like TJ Maxx and Marshalls focus heavily on
   5    advertising that they offer favorable pricing, and their customer base includes
   6    many people who are willing to forgo some product selection and quality in order
   7    to obtain low prices. At Stein Mart, we have positioned ourselves as a retailer of
   8    high quality fashion and household products, offered at everyday low prices. We
   9    never claim to have the lowest prices. Instead, we offer high quality goods for
   10   prices that are lower than what customers will find at department stores, boutiques,
   11   specialty stores, or other full price retailers.
   12                4.   Over my time at Stein Mart, I have become very familiar with the
   13   demographics of our customer base. One way in which we keep track of our
   14   customer base is through loyalty club membership, as well as through point of sale
   15   transactional data and 3rd party credit card data. Based on my knowledge of these
   16   data, and knowledge gained through consumer research and my own personal
   17   observation, I can attest that Stein Mart’s customer base is predominantly female
   18   (greater than 70%). Our customers are mature, with an average age of over 50.
   19   And our customers are comparatively well-off, with an average family income in
   20   the range of $75,000.
   21                5.   Through focus groups, other consumer behavior studies, and talking
   22   directly to customers, I have also learned that our customer base is composed of
   23   consumers who enjoy shopping and enjoy fashion. They seek quality and style,
   24   and want to obtain products at reasonable prices. I do not see our customers as
   25   preoccupied with finding the lowest possible price. Our shoppers are experienced,
   26   and often shop at other stores, including our competitors. They are knowledgeable
   27   about the brands we sell, and the prices charged by others. They have ample
   28   information about the broader market for the merchandise we sell, and make their

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   1    own judgments about our prices and how they compare to what other retailers
   2    charge. Our customer research tells us that our customers believe that our pricing
   3    is good, but they do not believe that we offer the lowest prices on the market.
   4                 6.   I am responsible for overseeing the themes and creative content of
   5    Stein Mart’s advertising.              In designing and implementing our advertising
   6    strategies, I focus on messaging that will appeal to our customers. My emphasis in
   7    creating advertising content is to focus on fashion and the enjoyment our
   8    customers get from buying things they like and which look good. Our customers
   9    do like value, and appreciate our prices, but it is our styles and product selection
   10   that get customers into our stores.
   11                7.   Of course, I also monitor the success of our advertising. Over my
   12   time at Stein Mart, I have adjusted our advertising messages to appeal to customers
   13   who fall within the demographic parameters and shopping characteristics noted
   14   above.
   15                8.   In addition to offering every-day low prices, Stein Mart does offer
   16   other kinds of promotional pricing. This includes mark downs as inventory ages,
   17   and eventually clearance pricing. We also hold promotional events at various
   18   intervals throughout the year, such as Presidents’ Day, Memorial Day, 4th of July,
   19   Labor Day and Black Friday. The theme of these sales is to give storewide savings
   20   off of our everyday pricing. These sales usually last from 12 to 36 hours, and
   21   generate a large volume of customer influx and sales. We advertise these events in
   22   a number of ways, including various forms of print advertising, and live media
   23   such as radio and television. Live media do not generally mention or discuss
   24   *Compare At pricing.
   25                9.   I am also familiar with the ways in which Stein Mart has
   26   communicated its Fair Pricing policy to the public. During the time described as
   27   the “class period,” Stein Mart has displayed the fair pricing policy at check-out
   28   locations. We have also posted the policy on line. Our price tags direct customers

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